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ProSe 1 (Rev. 12/16) Complaint for a Civil Case




                                        United States District Court
                                                                        for the

                                                                      District of


                                                                          Division



                                                                                  Case No.
                                                                                                 (to be filled in by the Clerk's Office)
                       A/za)
                              Plaintijf(s)
(Write thefull name of each plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,                    Jury Trial: (check one)          Yes Q No
please write "see attached" in the space and attach an additional
page with the full list of names.)
                                 -V-




                             Defendant(s)         7
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list ofnames.)



                                                  COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                               Name
                               Street Address                      ' ,-h 11*1
                               City and County                         A/
                               State and Zip Code
                               Telephone Number
                                                                                                                                           I
                               E-mail Address


          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person'sjob or title (ifknown). Attach additional pages if needed.

                                                                                                                                           Page 1 of 5
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                      Defendant No. 1

                                 Name

                                 Job or Title (ifknown)                ^


                                 Street Address

                                 City and County             JJ
                                 State and Zip Code
                                 Telephone Number                     Mg-Q-
                                 E-mail Address (if known)


                      Defendant No. 2

                                 Name

                                 Job or Title (ifknown^
                                 Street Address                        3^
                                 City and County              rwT6/^ i) l/'y jAf^. "70 7i         'r:>
                                 State and Zip Co
                                 Telephone Number            -n
                                 E-mail Address (ifknown)


                      Defendant No. 3

                                 Name

                                 Job or Title (if known)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 4

                                 Name

                                 Job or Title (if known)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)




                                                                                            Page 2 of 5
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II.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court; cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship-c^se, no defendant may be a citizen of the same State as any plaintiff.

          What isthe bfl^s for federal court jurisdiction? (check all that apply)
                       Federal question                            F] Diversity ofcitizenship                    ^r\i{\Vxfi/6                    0^^
      S                                            Jr-                                 VvLc\ f\                                      CA~6^ .
          Fill out the par^rapns in this section that apply to this fcase.             t        '       J'                   i     , .    /
                                                                                            \p(j.YYoA it/ bo-i-'Q ^
          A.         Ifthe Basis for Jurisdiction Is a Federal Question                             ^        \
                     List the specific federal statutes, federal treaties, Md/or provis[ons of the United States Constitutionthat

      9                                                                    '-I,"                                                                       I
      \~jCCQ^.                                           •yj.iWt f                            ^
          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)               N My/I                                        , is a citizen of the
                                           State of (name)


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                             , is incorporated
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (Ifmore than one plaintiffis named in the complaint, attach an additionalpage providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)                                                                         A


                                a.         If the defendant is an individual                        /
                                                                                               /•

                                           The defendant, (name)                                                             , is a citizen
                                                                                                                                     r      of
                                                                                                                                             ,

                                           the State of (name)                                                           Or is a citizen of
                                            (foreign nation)                       /       PTIL " -                     Jkj*         6'^ I ^

                                                                                                                                         Page 3 of 5
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                            b.        If the defendant is a corporation
                                      The defendant, (name)                                            , is incorporated under
                                      the laws of the State of (name)     •.                                     , and has its
                                      principal place of business in the State of (name)            ICiA S
                                      Or is incorporated under the laws of (foreign nation)     ^
                                      and has its principal place of business in (name)         T     1/ '(K^
                            (If more than one defendant is named in the complaint, attach an additionalpage providingthe
                            same information for each additional defendant.)

                   3.       The Amount in Controversy

                                amount in controversy-the amount the plaintiff claims thejlefendMit.owes or the amount at
                            stake-is more thM^|75»lKK)r-net-eountnrg1nterest and costs of court, ^cause (explain): .
                                                                        fio     r                                (LKX

                                                                               /j.f
m.       Statement of Claim

         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
         facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
         involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
         the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
         write a short and plain statementof each claim in a separate p^agraph. Attach additional pages if needed.
                                                                                                rv^
s

M                 ^                                              ^
                                                                                                         J
rv.      Relief
                                                       1/
         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         punitive money damages.


                                                                                              vx.     ch^

                                                                                                                      Page 4 of 5
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argumentfor extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support aftera reasonable
          opportunityfor further investigation or discovery; and (4) the complaintotherwise complies with the
          requirements of Rule 11.

          A.          For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result


                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff                         hk/) j
          B.          For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number

                     Name of Law Firm

                      Street Address

                      State and Zip Code
                      Telephone Number
                      E-mail Address




                                                                                                                       Page 5 of 5
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       ^nt Transactions                                                                                      Page 1 of 1


           -count Tide:    SUSAN N MATOUSEK         Account Number;   XXXX8427
    .rrent Available: -$6.87                     BalanceDate: 8/12/2018 10:27:43 AM CST
 .ease note that pending transactions can post for a different amount than listed and may not include fees
assessed today.

                             Pending Transac±ions as of 8/12/2018 10:27:43 AM CST



There are no pending transactions at this time.

                                   Posted Transactions from 7/11/2018 to 8/12/2018
Date            Code      Serial         Amount    Balance        Description
                                                                  POS- DAIRY QUEEN #19143 QPS VIRGINIA BEAC VA
8/6/2018        935                      -$7.79    -$6.87
                                                                  000000000407659
o/£/onio                                                     __       "7   tri ci/ITM            i/ a/a
o/b/zUlo        yjD

8/4/2018        735                /   ^ -$15.00   $5.00          DEBIT CARD SETUP FETTN
8/3/2018        7              (         $20.00    $20.00         DEPOSIT               . •; )
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                                                       WOODFOREST'
                      A L        BANK                    MEMBER FDIC                  Ui             ATIONAL              BANK            member fdic



                             U70 N Military Hwy                                                                        1170 North Military Highway
                             Norfolk, VA 23502                                               rivi Menard               Norfolk, VA 23502
                             757-455-9092 Branch                                                                       757-455-9092 Branch
                                                                                      Assistant Branch Manager
                             737-455-9094 Fax                                                                          757-455-9094 Fax
                                                                                      MMenard@woodforest.com
                             866-226-5724 24-Hour Automaicd                                                            866-226-5724 24-Hour Automat©



                      odforest.coin                                                                   www.woodforest.com


                      KING ACCOUNT IDENTIFICATION


                                                                                                               Everybody needs
                      >unt Identification                                             •;                       a check sometime!
                      /Transit Number and Account Number shown on this document
                                                                                                                 • Chiid-care expenses
                      ^our new account The information shown can be referred to
                                                                                                                 • School expenses
                      aking deposits and withdrawals quickly and accurately. Please
                                                                                                                 •Charitable donations
                      :o keep this and all personal financial information secure.
                                                                                                                 • Payments to friends
                           WOODFOREST                                                                            • Pet care services
                            NATION A L            BANE

                            24     Account Infonnvtion
                                                                                                                 • Home repair and
                            VMw.woodfoTtfstxom
                                                                                                                     maintenance services
                                                                                                                 • Most importantly, when
                      ftitution's routing nuirS^r               Vour account number
                                                                                                                   you need proof of payment
                      IB           2             Ei:                                            27ii-
                                                          . This document is not valid^r check cashing purposes- .




                                                          I                      Ci/SHV DAY ANP NrCKTr*
                                                              BanJdHB yo"r way-EVBUr DAY ANi/
                                                                       Woodforest National Bank .
                                                                         1170 N. Military Hwy
                                                                          Norfolk, VA 23502




                                                  Terminal#                   00109550

                                                  8/12/201?^                   11:29:30 AM

                                                  ^               Checking Account Balance ***

                                                                                 Approved.
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Wal-Mart Stores. Inc.
702 SW 8*^ Street
                                                          Sftwi'iiiney. liw Jsstlef.
Bentonville, AR 72716-0815



                             Notification of Restriction from Property

Wal-Mart Stores, Inc. can prohibit individuals fronrj entering its property who interfere with
its business, shoplift, destroy property, or otherwise behave in a manner that is
unacceptable. Wal-Mart Stores, Inc. has determined you have engaged in conduct
sufficient to necessitate limiting your access to Wal-Mart Stores, Inc. property. This
document constitutes formal notice and warning that you are no longer allowed on property
owned by Wal-Mart Stores, Inc., or in any area subject to Wal-Mart Stores Inc.'s control.
This restriction on entry includes, but is not limited to, all retail locations or subsidiaries of
Wal-Mart Stores, Inc. Should you elect to ignore this Notice and enter Wal-Mart Stores,
Inc., property, Wal-Mart Stores, Inc. may contact law enforcement and request you be
charged with criminal trespass.

                                  Acknowledqement of Receipt

1 have read and understand this Notice or, in the alternati?tfe, haye had it read tp^rrje and
understand and acknowledge that as of                 day of                           . 20 I k I am
prohibited from entering Wal-Mart Stores Inc., property. I unders^nd this Notice will remain
in effect until Wal-Mart Stores, Inc. rescinds it.




.•DiU^Chl                         'icb-l-au^e.K
Name jot
     £>t Rec
         Recipient (Print)


Signature of Recipient


Signature of Parent/Guardian (of Recipient under age


hor Wal-Mart Stores, Inc. (Signature and Position)

LilhiJp.        I^IJWMlL
Signature bf Witness




                                                fcr^
